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    In the United States Court of Federal Claims
                                OFFICE OF SPECIAL MASTERS
                                        No. 15-1120V
                                     Filed: April 18, 2017
                                      Not for Publication

*************************************
RACHAL LAPRAIRIE,                           *
                                            *
              Petitioner,                   *
                                                           Damages decision based on
                                            *
                                                           stipulation; Guillain-Barré
 v.                                         *
                                                           Syndrome (“GBS”); influenza
                                            *
                                                           (“flu”) vaccine; tetanus-acellular
SECRETARY OF HEALTH                         *
                                                           pertussis (“Tdap”) vaccine
AND HUMAN SERVICES,                         *
                                            *
              Respondent.                   *
                                            *
*************************************
Craig S. Watson, Baton Rouge, LA, for petitioner.
Linda S. Renzi, Washington, DC, for respondent.


MILLMAN, Special Master

                              DECISION AWARDING DAMAGES 1

        On April 18, 2017, the parties filed the attached stipulation in which they agreed to settle
this case and described the settlement terms. Petitioner alleges he suffered Guillain-Barré
Syndrome (“GBS”) as a result of his October 8, 2013 receipt of the influenza (“flu”) and tetanus-
acellular pertussis (“Tdap”) vaccines. Respondent denies that either the flu or Tdap vaccine
caused petitioner’s GBS or any other injury. Nonetheless, the parties agreed to resolve this
matter informally.

1
  Because this unpublished decision contains a reasoned explanation for the special master’s action in this
case, the special master intends to post this unpublished decision on the United States Court of Federal
Claims’ website, in accordance with the E-Government Act of 2002, 44 U.S.C. § 3501 note (2012)
(Federal Management and Promotion of Electronic Government Services). Vaccine Rule 18(b) states that
all decisions of the special masters will be made available to the public unless they contain trade secrets
or commercial or financial information that is privileged and confidential, or medical or similar
information whose disclosure would constitute a clearly unwarranted invasion of privacy. When such a
decision is filed, petitioner has 14 days to identify and move to redact such information prior to the
document=s disclosure. If the special master, upon review, agrees that the identified material fits within
the banned categories listed above, the special master shall redact such material from public access.
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        The undersigned finds the terms of the stipulation to be reasonable. The court adopts the
parties’ stipulation, attached, and awards compensation in the amount and on the terms set forth
in the stipulation. Pursuant to the stipulation, the court awards a lump sum of $195,000.00,
representing reimbursement for all damages that would be available under 42 U.S.C. § 300aa-
15(a) (2012). The award shall be in the form of a check payable to petitioner in the amount of
$195,000.00.

       In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court is directed to enter judgment herewith. 2


IT IS SO ORDERED.


Dated: April 18, 2017                                                      s/ Laura D. Millman
                                                                              Laura D. Millman
                                                                               Special Master




2
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by each party, either separately or
jointly, filing a notice renouncing the right to seek review.
                                                    2
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